      Case 5:25-cv-00443-XR-ESC     Document 2       Filed 04/23/25   Page 1 of 1



                        UNITED STATES DISTRICT COURT
  PHILIP J. DEVLIN       WESTERN DISTRICT OF TEXAS                        ANNETTE FRENCH
  CLERK OF COURT              262 W. Nueva, Suite 1 - 400                  CHIEF DEPUTY
                               San Antonio, Texas 78207


                                  April 23, 2025



Lawrence Gray on behalf of Zion Gray
5707 TPC Pkwy Apt. 1726
San Antonio, TX 78261

RE: Case # 5:25-CV-00443-XR-ESC

Dear Mr. Gray:

      Your Complaint was filed in our office on 04/17/2025 and assigned the
above case number. Please reference this case number on all future documents
submitted for filing in the above case number. Please be advised you must keep the
court informed of your current address throughout the pendency of your case.
Failure to do so may result in dismissal of your case for want of prosecution.

                                      Sincerely,

                                      By_TT______
                                      Deputy Clerk
